Case 4:08-cr-10071-KMM Document 80 Entered on FLSD Docket 09/29/2009 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 08-10071-CR-MOORE/SIMONTON

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DIDIER GONZALEZ-VASQUEZ,

        Defendant.
  ______________________________/

                         ORDER GRANTING DEFENDANT’S MOTION
                              FOR INVESTIGATIVE COSTS

         Presently pending before the Court is the Defendant’s Motion for Investigative

  Costs (DE # 70). This motion is referred to the undersigned Magistrate Judge (DE # 47).

  An ex parte sealed hearing was held on September 25, 2009, at which time the Court

  orally ruled on the Motion. This Order sets forth that ruling and incorporates by

  reference the reasons stated on the record.

         On September 26, 2008, Defendant Didier Gonzalez-Vasquez (“Vasquez”) was

  charged with twenty-one Counts in an Indictment alleging that on or about May 27, 2008,

  Mr. Vasquez conspired with a co-Defendant to encourage and induce twenty aliens to

  enter and reside in the United States by attempting to transport the aliens from Cuba to

  the United States on a sea vessel in violation of 8 U.S.C. § 1324(a)(1)(A)(iv) (DE # 1). On

  August 12, 2009, the Defendant was appointed counsel to represent him pursuant to the

  Criminal Justice Act (“CJA”)(DE # 52).

         In the instant Motion, counsel for the Defendant requests that the Court authorize

  expenditures for investigative services at a rate of $60.00 per hour up to $1,600.00, not

  including costs, to aid in the preparation of a defense in this case.
Case 4:08-cr-10071-KMM Document 80 Entered on FLSD Docket 09/29/2009 Page 2 of 2




          18 U.S.C. § 3006A, Adequate representation of defendants, provides, in relevant

  part,

          (e) Services other than counsel.--

                 (1) Upon request.--Counsel for a person who is financially unable to
          obtain investigative, expert, or other services necessary for adequate
          representation may request them in an ex parte application. Upon finding,
          after appropriate inquiry in an ex parte proceeding, that the services are
          necessary and that the person is financially unable to obtain them, the
          court, or the United States magistrate judge if the services are required in
          connection with a matter over which he has jurisdiction, shall authorize
          counsel to obtain the services.


  In this case, the Defendant has already been appointed CJA counsel who has requested

  the costs necessary for investigative services. Based upon the information presented in

  the Motion and the inquiry conducted at the ex parte hearing, the undersigned concludes

  that the services are necessary and thus the expenses for investigative services should

  be authorized. It is therefore

          ORDERED AND ADJUDGED that the Defendant’s Motion for Investigative Costs

  (DE # 70) is GRANTED. Counsel for Defendant is authorized to spend up to $1600.00 in

  investigative costs associated with preparing a defense in this matter.

          DONE AND ORDERED in chambers in Miami, Florida on September 29th, 2009.




                                               ANDREA M. SIMONTON
                                               UNITED STATES MAGISTRATE JUDGE

  Copies furnished via CM/ECF to:
  The Honorable Ursula Ungaro
         United States District Judge
  All counsel of record

                                                 2
